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                  Donald J. Trump
                  @realDonaldTrump

    Today, President Donald J. Trump and Skadden, Arps, Slate, Meagher & Flom LLP
    announce the following agreement regarding a series of actions to be taken by
    Skadden:

    1. Skadden will provide a total of at least $100 Million Dollars in pro bono Legal
    Services, during the Trump Administration and beyond, to causes that the
    President and Skadden both support, in relation to the following areas: Assisting
    Veterans and other Public Servants, including members of the Military, Law
    Enforcement, First Responders, and Federal, State, and Local Government Officials;
    ensuring fairness in our Justice System; and combatting Antisemitism. Skadden will
    change its pro bono policy so that all pro bono moving forward will be done in the
    Firm name. A pro bono Committee will be constituted to ensure that pro bono
    matters are consistent with the objectives of the program, and that pro bono
    activities represent the full political spectrum.

    2. The Skadden Foundation will commit to the mission of providing pro bono Legal
    Services to a wide variety of deserving organizations and individuals. Skadden is
    committed to funding no fewer than five Skadden Fellows each year dedicated to
    the following projects: Assisting Veterans; ensuring fairness in our Justice System;
    combatting Antisemitism, and other similar types of projects. Law Graduates that
    receive Skadden Fellowships will represent a wide range of political views,
    including conservative ideals.

    3. Skadden affirms its commitment to merit-based hiring, promotion, and retention.
    Accordingly, the Firm will not engage in illegal DEI discrimination and preferences.
    Skadden will engage independent outside counsel to advise the Firm to ensure
    employment practices are fully compliant with Law, including, but not limited to,
    anti-discrimination Laws.

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    4. Skadden will not deny representation to clients, such as members of politically
    disenfranchised groups, who have not historically received legal representation
    from major National Law Firms, including in pro bono matters, and in support of
    non-profits, because of the personal political views of individual lawyers.

    Statement From the White House: “Skadden, Arps, Slate, Meagher & Flom LLP
    approached President Trump and his Administration, and declared the Firm’s strong
    commitment to ending the Weaponization of the Justice System and the Legal
    Profession. The President will never stop fighting to deliver on his promises of
    eradicating partisan Lawfare in America, and restoring Liberty & Justice for ALL.”

    Statement From Skadden Executive Partner, Jeremy London: “Skadden is pleased
    to have achieved a successful agreement with President Trump and his
    Administration. We engaged proactively with the President and his team in working
    together constructively to reach this agreement. The Firm looks forward to
    continuing our productive relationship with President Trump and his Admin. We
    firmly believe that this outcome is in the best interests of our clients, our people,
    and our Firm.”
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